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                                                                                            MAR 1 9 2019




PAULA D. MCDOUGALL,

        Plaintiff,

v.                                                   Case No •   .l{ f q- cv-} qD - KGB
TULKUNBAY KHURRAMOV AND
KOVATRANS INC.,

        Defendants.
                                               This case assigned to District Judge      Bl\k.e-r
                                               and to Magistrate Judge   -+~.l.::fA~r-..1.,;nixt'j...,_----

                          NOTICE OF REMOVAL OF CML ACTION


TO:     Andrew Taylor
        Ark. Bar No. 2005147
        TAYLOR & TAYLOR LAW FIRM, P.A.
        12921 Cantrell Road, Suite 205
        Little Rock, AR 72223
        Andy@TaylorLawFirm.com
        Counsel for Plaintiff

        The Defendant, Tulkunbay Khurramov, pursuant to 28 U.S.C. §1446 (a)-(d), and by and

through counsel, Glassman, Wyatt, Tuttle & Cox, hereby files this Notice of Removal of the above

civil action from the Circuit Court of St. Francis County, Arkansas to the United States District

Court for the Eastern District of Arkansas, Division II and, as basis for said removal, would show

as follows:

          (1) The removing party, Tulkunbay Khurramov, is the named Defendant in the above

entitled action.

          (2)      This matter was originally filed in the Circuit Court of St. Francis County,

Arkansas, on December 10, 2018 under Docket No. 62CV-18-290-1. A copy of the original

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Complaint filed in the Circuit Court of St. Francis County, Arkansas, along with the Summons

issued at said time, is attached to this Notice of Removal as "Exhibit A".

         (3) On or about February 18, 2019 the Defendant, Tulkunbay Khurramov, was served

with said Summons and Complaint via US Mail.

         (4) Based on a review of the court docket from the Circuit Court of St. Francis County,

Arkansas, the Complaint and Summons are the only pleadings that have been filed, and no further

proceedings have taken place in the St. Francis County, Arkansas Circuit Court action.

         (5) The Complaint does not set forth any ad damnum as far as a dollar amount.

         (6)   Plaintiff, Paula McDougall, is presently, and was, at the time the Complaint was

filed, a resident of Willis, Montgomery County, Texas.

         (6)   The Defendant, Tulkunbay Khurramov is presently, and was at the time the

Complaint was filed, a resident of Philadelphia, Philadelphia County, Pennsylvania.

         (7)   The Defendant, Kovatrans, Inc., is presently, and was, at the time the complaint

was filed, a corporation with a principal place of business at 32 Fawn Ridge Road, White Haven,

Luzerne County, Pennsylvania. Upon information and belief, said Defendant has not been served

with the summons and complaint at this time, but when service is accomplished, the company will

be represented by the undersigned counsel, and as such, will consent to this removal.

         (8)   This is an action for alleged injuries and damages as a result of a motor vehicle

accident which occurred in St. Francis County, Arkansas, on or about July 2, 2017.

        (9) This Court has original diversity jurisdiction over this action pursuant to 28 U.S.C.

§1332(a)(l) and (c) as the suit is between citizens of different states.

        (10)   The United States District Court for the Eastern District of Arkansas is the federal

district embracing the location where the state court suit was filed.



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         (11) This Notice of Removal is being filed within 30 days of service upon the removing

Defendant.

         (12) Defendant is in compliance with all removal requirements set forth in 28 USC

§1446, and further, this Defendant will provide immediate notice of this removal to Counsel for

Plaintiff, as well as the Circuit Court of St. Francis County, Arkansas.

         (13) Defendant contends that the amount in controversy, exclusive of interest and costs,

exceeds the sum of $75,000.00. As there is no amount sued for in the complaint, in accordance

with 28 U.S.C. §1446(c)(2), and in order to further satisfy the requirements as to the amount in

controversy, this Defendant would show that Plaintiff has sued for: (A) serious bodily injury to

neck, back, shoulder and other parts of Plaintiffs body; (B) medical expenses incurred and

transportation expenses to obtain such medical treatment; (C) future medical expenses to be

incurred and transportation expenses to obtain such treatment; (D) physical pain and disability to

be experienced in the past; (E) physical pain and disability to be experienced in the future; (F) loss

of income in the past; (G) loss of income in the future; and (H) loss of earning capacity due to

permanent physical impairment from the injuries caused by the collision; (I) mental anguish

experienced in the past, includes but is not limited to Plaintiff's loss of quality of life due to

permanent injuries causing chronic pain that limited her activities; (J) mental anguish to be

experienced in the future includes but is not limited to Plaintiff's loss of quality of life due to

permanent injuries causing chronic pain that limited her activities; (K) any scars, disfigurement,

and visible results of her injury due to "residential limitation of motion;" Adkins v. Kelley, 244

Ark. 199,424 S.W.2d 373 (1968); (L) The reasonable expense of any necessary help in Plaintiff's

home in the past, and reasonably certain to be required in the future, as a result of Plaintiff's

injuries; and (M) Permanent bodily injuries that have been suffered, which is a life-changing event



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causing Plaintiff to lose the ability to enjoy a normal life. While not conceding that the value of

the case, even ifliability is found, is equal to or in excess of $75,000, Defendant would show that

the amount in controversy is in excess of said amount based on information currently available.

         (14) Defendant demands a jury trial.

                                             Respectfully submitted,


                                             ~~ c':t4219
                                             Glassman, Wyatt, Tuttle & Cox P.C.
                                             26 North Second Street
                                             Memphis, TN 38103
                                             P: (901) 527-2143
                                             F: (901) 527-5320
                                             rcox@gwtclaw.com
                                             GWTC File No. 19-077R
                                             Counsel for Defendants, Tulkunbay Khurramov
                                             and Kovatrans, Inc.



                                CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing pleading has been properly served, on the 18th day
of March, 2019, via Email and/or United States Mail, postage prepaid upon the following:

       Andrew Taylor
       Ark. Bar No. 2005147
       TAYLOR & TAYLOR LAW FIRM, P.A.
       12921 Cantrell Road, Suite 205
       Little Rock, AR 72223
       Andy@TaylorLawFirm.com
       Counsel for Plaintiff




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                                                    SETTE S. GREEN. Cl.ERK
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            IN THE CIRCillT COURT OF ST. FRANCIS COUNTY, ARKANSAS
                             _ _ _ _ _ DMSION

PAULA D. MCDOUGALL                                                                  PLAINTIFF

vs.                             CASE NO.     k J cv- I g-;.<Jc - (

TULKUNBAY KBURRAMOV AND
KOVATRANS INC.                                                                    DEFENDANTS

                                         COMPLAINT

       Comes now the Plaintiff, Paula D. McDougall, by and through her attorneys, TAYI.OR &

TAYLOR LAW FIRM, P.A., and for her Complaint does state:

                                JURISDICTION AND VENUE

       1.       At all times relevant to this Complaint, Plaintiff was a resident of Willis,

Montgomery County, Texas, and a citizen of the State of Texas.

       2.       At all times relevant to this Complaint, Defendant Tulkunbay Khumunov was a

resident of Philadelphia, Philadelphia County, Pennsylv• and a citizen of the State of

Pennsylvania.

       3.       At all times relevant to this Complaint, Kovatrans Inc. was a Pennsylvania

corporation with a principal place of business at 32 Fawn Ridge Road, White Haven, Luzerne

County, Pennsylvania.

       4.       The facts and circumstances giving rise to this Complaint occurred in St. Francis

County, Arkansas.




                                                                             EXHIBIT A
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       5.      This Court has subject matter jurisdiction of this matter pursuant to Ark. Code

Ann.§ 16-13-20l(a).

       6.      This Court has personal jurisdiction of the parties pursuant to Ark. Code Ann. §

16-4-IOl(B).

       7.      Venue in this county is proper pursuant to Ark. Code Ann. § 16-60-IOl{a)(l)

(county in which a substantial part of the event or omission giving rise to the cause of action

occurred).

                                             FACTS

       8.       On or about July 2, 2017, Plaintiff was the passenger in a vehicle being driven by

a Kenneth W. Willingham.

       9.       Mr. Willingham was driving his vehicle westbound on Interstate 40.

        10.     Mr. Willingham was driving in the outside lane.
       11.      At the same time, Defendant Khurramov was driving an 18-wheeler westbound

on Interstate 40.

        12.     Defendant Khurramov was driving in the inside lane.

        13.     Defendant Khurram.ov was driving slightly ahead of Mr. Willingham.

        14.     The two vehicles were traveling in a construction zone with concrete baniers on

both sides of the interstate.

        15.     As the two vehicles approached a lane shift (to the left), Mr. Willingham

continued to drive in the correct lane, but Defendant Khunamov failed to adequately shift lanes.

        16.     Therefore, Defendant K.hurramov crossed into the outside lane.

        17.     The trailer of the 18-wheeler being driven by Defendant Khurramov then collided

with the vehicle being driven by Mr. Willingham.



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       18.     This impact caused Mr. Willingham's vehicle to collide with the concrete barrier.

                           CAUSE OF ACTION #1 - NEGLIGENCE

       19.     Defendant Khumunov owed numerous duties to Plaintiff, and Defendant

Khurramov breached those duties in the following manner:

               A.      Failure to remain in his lane until such time as moving to another lane

                       could be made with safety, in violation of Ark. Code Ann. §§ 27-51-

                       302(1);

               B.      Driving too fast for conditions in violation of Ark. Code Ann. §27-51-201;

               C.      Reckless driving in such a manner as to show disregard for the safety of

                       persons and property in violation of Ade. Code Ann. §27-50-308;

               D.      Careless and prohibited acts of driving in violation of Arlc. Code Ann.

                        §27-51-104, and other violations of applicable Arkansas traffic laws;

               E.      Failure to keep a proper lookout for other vehicles on the roadway;

               F.       Failure to drive at a speed that was reasonable under the circumstances;

                G.      Failure to keep the vehicle under proper control;

                H.      Failure to use ordinary care to operate the vehicle in recognition of the

                        Plaintitrs superior right to use the roadway; and

                I.      Failure to otherwise use ordinary care un.der the circumstances at the time

                        of the collision.

        20.     The injuries and damages sustained by Plaintiff, more particularly described

below, were produced in a natural and continuous sequence, and were a probable consequence of

Defendant K.hurramov's breach of one or more of the above-described independent duties of

ordinary care for the safety of Plaintiff.



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       21.     Defendant Khumunov should have foreseen and anticipated that a breach of one

or more of the above-described independent duties to use ordinary care would constitute an

appreciable risk of harm to others, including Plaintiff.

       22.     If Defendant Khumunov had not breached one or more of the above-described

independent duties to use ordinary care for the safety of Plaintiff, then Plaintiffs ittjuries and

damages would not have occurred.

COMPENSATORYDAMAGESSUFFEREDBYPLAINTIFFPAULAD.MCDOUGALL
       23.     The injuries and damages sustained by Plaintiff as a result of Defendant's breach

of the above duties include, but are not limited to, the following:

               A.      Serious bodily injuries to Plaintiff's neck, back, shoulder, and other parts

                       of Plaintiff's body;

               B.      Medical expenses incurred in the past, and transportation expenses to

                       obtain such medical treatment;

               C.      Future medical expenses to be incurred, and transportation expenses to

                       obtain such future medical treatment;

               D.      Physical pain and disability experienced in the past;

               E.      Physical pain and disability to be experienced in the futme;

               F.      Loss of income in the past;

                G.     Loss of income in the future;

               H.      Loss of earning capacity due to permanent physical impainnent from the

                       injuries caused by the collision;




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                 I.     Mental anguish experienced in the past, which includes but is not limited

                       to Plaintiff's loss of quality of life due to permanent injuries causing

                        chronic pain that limited her activities;

               J.       Mental anguish to be experienced in the future, which includes but is not

                       limited to Plaintiff's loss of quality of life due to permanent injuries

                       causing chronic pain that limits her activities;

               K.       Any scars, disfigurement, and visible results of her injury due to

                       "residential limitation of motion;" Adkins v. Kelley, 244 Ark. 199, 424

                        S.W 2d 373 (1968);

                 L.     The reasonable expense of any necessary help in Plaintiff's home in the

                        past, and reasonably certain to be required in the future, as a result of

                        Plaintiff's injuries; and

                 M.     Permanent bodily injuries that have been suffered, which is a life-

                        changing event causing Plaintiff to lose the ability to enjoy a nonnal life.

                      CAUSE OF ACTION #2-RESPONDEAT SUPERIOR
                       (AGAINST SEPARATE DEFENDANT KOVATRANS INC.)

       24.       Upon information and belief, at all times relevant to this Complaint, Defendant

Khurramov was an agent or employee of Kovatrans Inc.

       25.       The actions of Defendant KhUITamov were with the scope of his agency or

employment with Kovatrans Inc.

       26.       Therefore, Defendant Khurramov's negligence is imputed to separate Defendant

Kovatrans Inc.

                                     AMOUNT OF DAMAGES
             (FOR JURISDICTIONAL PURPOSES UNDER ARlc. CODE ANN.             § 16-63-221)



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       27.     Plaintiffs iajuries and damages are in excess of the minimum amount required for

federal court jurisdiction in diversity of citizenship cases.

                                DEMAND FOR TRIAL BY JURY

       28.     Plaintiff demands a trial by jury for all issues of fact presented by this action.

                         RESERVATION OF ADDITIONALCLAQIS

       29.     Upon completion of discovery, Plaintiff reserves the right to plead further to state

additional claims and to name additional parties to this action.

       WHEREFORE, Plaintiff prays for judgment against Defendant for the damages caused

by Defendant's negligence as described above, for costs and attorneys' fees, and for all other

relief at law or equity to which Plaintiff may be entitled.

                                               Respectfully
                                               PAULAD.
                                               Plaintiff




                                                                      L          ,P.A.
                                                              ---,•··...,r-1.k. Bar No. 2005147
                                                Tasha C. Taylor,            Bar No. 2005148
                                                12921 Cantrell Road, Suite 205
                                                Little Rock, AR 72223
                                                Phone: (501) 246-8004
                                                Fax: (501) 246-8009
                                                Email: Andy@TaylorLawFirm.com
                                                        Tasha@TaylorLawFirm.com

                                                Attorneys for Plaintiff




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             THE CIRCUIT COURT OF ST. FRANCIS COUNTY, ARKANSAS
                                          DIVISION

PAULA D. MCDOUGALL
Plaintiff

v.                            No.   ~   i ci· - 1g - ~ 9o ·I
TULKUNBAY KHURRAMOV     AND   KOVATRANS INC.
Defendants
                                        SUMMONS

THE STATE OF ARRANSAS TO DEFENDANT:

TULKUNBAY KHURRAMOV
828 RED LION ROAD
APARTMENT A5
PHILADELPHIA; PA 19115


A lawsuit has been filed against you. The relief demanded is stated
in the attached complaint. Within 30 days after service of this
summons on you {not counting the day you·received it) - or 60 days if
you are incarcerated in any jail, penitentiary, or other correctional
facility in Arkansas - you must file with the clerk of this court a
written answer to the complaint or a motion under Rule 12 of the
Arkansas Rules of Civil Procedure.

The answer or motion must also be served on the plaintiff or
plaintiff's attorney, whose name and address are:

Andrew M. Taylor
TAYLOR & TAYLOR LAW FIRM, P. A,
12921 Cantrell Road, Suite 205
Little Rock, AR 72223

If you fail to respond within the applicable time period, judgment by
default may be entered against you for the relief demanded in the
complaint.

Address of Clerk's Office                      CLERK OF COURT
                                                         Bette S Green. C '. · ·
St. Francis County Circuit Clerk
313 S. Izard St.                                  '-1· Y) LIL.,~1'.) 1(..v-,..u   /~ l+,Zv\•~-:)       ]) , C   ,
Ste. 8                                         [Signat\(~of Clerk or Deputy
Forrest City, AR 72336                         Clerk]

                                               Date: _ _ _--'-/...;.J-_~...;.J_o_.-..../'--'k.....____ __
[ SEAL]
